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                            UNITED STATES DISTRICT COURT

                                DISTRICT OF MINNESOTA



 Craig Casler, as Trustee for the Heirs and       Case No.: 18-CV-1020 (WMW/LIB)
 Next-of-Kin of Abby Rudolph, deceased,

                  Plaintiffs,

 vs.

 MEnD Correctional Care, PLLC, and Michelle
 Pender, individually and in her capacity as
 Clay County Jail Nurse, and Clay County,
 Minnesota, and Julie Savat, individually and       Notice of Motion for Approval of
 in her capacity as Clay County Jail                Distribution of Wrongful Death
 Administrator, and Justin Roberts,                            Proceeds
 individually and in his capacity as Clay
 County Assistant Jail Administrator, and CO
 Raynor Blum, CO Nancy Livingood, CO
 Ashley Johnson, CO Tiffany Larson, CO
 Deborah Benson, CO Jana Bartness, CO Ryan
 Magnuson, CO Anastacia Hermes, CO Joel
 Torkelson, CO Anthony Hanson, CO Amber
 Nelson, CO Cassie Olson, CO Devin Lien, CO
 Richard Stetz, CO Brianna, CO Amy Rood,
 and CO Lucas Heck, individually and in their
 capacities as Clay County Correctional
 Officers, and CO Kari, individually and in her
 capacity as Clay County Jail Correctional
 Officer and Clay County Jail Health Tech,

             Defendants.

    Please Take Notice that at a time and place to be determined by the court, if an

appearance is deemed necessary, Petitioner, Craig Casler, will move the Court for an

order allowing distribution of settlement funds as described in the Petition being filed

herewith.




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 Date: May 23, 2019:                     BENNEROTTE & ASSOCIATES, P.A.


                                         By: s/ Vincent J. Moccio
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